United States District Court
Northern District of California

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF CALIFORNIA

USA, Case No. 19-cr-00341-CRB-1
Plaintiff,
ORDER DENYING MOTION TO
V. COMPEL DISCLOSURE
WILLIE WILLIAMS,
Defendant.

 

 

The defendant moved to compel alleged Giglio material relating to Britt Elmore, a
government expert witness. See Mot. to Compel (dkt. 189). The government opposed. See Opp.
(dkt. 196). At the pretrial conference on October 28, 2021, the Court ordered the government to
submit the materials to the Court for in camera review. Having examined them, the Court
concludes that they are not Giglio materials and therefore DENIES the motion to compel. The
materials shall be filed under seal on the docket.

IT IS SO ORDERED.

Dated: November 3, 2021 Cok

CHARLES R. BREYER
United States District Judge

 
